Case 1:21-cv-06400-JPC Document 39 Filed 02/16/22 Page 1 of 1

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
x Case No.: 1:21-cv-6400 ICP) (SDA)

 

NICK GIOULES,
Plaintiff, AFFIDAVIT OF SERVICE
-against-

ANTIGUA PHARMACY, LLC, and BRENDALIS

 

ANTIGUA
Defendants.
x
STATE OF NEW YORK )
)ss.:
COUNTY OF QUEENS )

ZOE CABALLERO, being duly sworn, deposes and says:

‘That deponent is not a party to the action is over 18 years of age and is employed in Queens, New
York.

That on the 16" day of February, 2022 deponent served the within this COURT ORDER DATED
JANUARY 12, 2022 by depositing a copy thereof enclosed in a postpaid addressed envelope via
overnight courier, in an official depository under the exclusive care and custody of Federal Express
within New York State addressed to the following person at the last known address furnished by

them:

 

 

 

ANTIGUA PHARMACY BRENDALIS ANTIGUA
1961 Southern Boulevard clo ANTIGUA PHARMACY
Bronx, New York 10460 1961 Southern Boulevard
“ Bronx, New York 10460
Fed Ex Tracking No.: 776037674000 Fed Ex Tracking No.: 76037525292 |
Sworn to before me this (| Lr
16" day of February, 2022 rt
(OE CABALLERO
/
ofa It yr KAROLINA SZYMANOWSKA
| Notary Public NOTARY PUBLIC STATE OF NEW YORK
Registration No.: 01826366644
Qualified in Queens County
Commission Expires November 6, 2025

 

 

 
